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4 October 2018
EMA/729522/2016




European Medicines Agency policy on access to
documents
POLICY/0043


Status: Public
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Review date: No later than 31 October 2021
Supersedes: Policy/0043, dated 30 November 2010 (EMA/110196/2006)


1.       Introduction and purpose
Openness and transparency are paramount values enshrined in the TEU 1 and in the TFEU 2 as they
contribute to strengthen the principles of democracy and good administration.

According to Article 15 of the TFEU, a right of access to documents of the EU Institutions, Bodies,
Offices and Agencies is granted according to the principles and further conditions as defined by
Regulations, namely Regulation (EC) No 1049/2001 3.

In principle, all documents of the EU Institutions and of the European decentralised Bodies, such as the
European Agencies, are accessible to the public.

However, certain public and private interests, such as the privacy and integrity of the individual, in
particular in accordance with EU legislation regarding the protection of personal data, or the
commercial interests of a natural or legal person, shall be protected by way of exceptions in line with
the provisions of Regulation (EC) No 1049/2001.

In addition, EU Institutions and Agencies are entitled to protect their internal consultations and
deliberations where necessary to carry out their tasks.

As of its establishment the European Medicines Agency (EMA) has embraced openness of operation as
an important feature. This approach has been underpinned by a number of initiatives, such as:

•    An ever-increasing transparency as a result of various transparency measures adopted by the EMA
     Management Board (MB).


1
 TEU = Treaty of European Union.
2
 TFEU = Treaty on the functioning of the European Union.
3
  Regulation (EC) No 1049/2001 of the European Parliament and of the Council of 30 May 2001 regarding public access to European
Parliament, Council and Commission documents.


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•      The establishment of a dedicated framework for replying to requests for information, as detailed in
       the EMA Code of Good Administrative Behaviour 4.

•      The development of rules for the implementation of Regulation (EC) No 1049/2001 on access to
       EMA documents.

Although since the entry into force of EU legislation EMA has undertaken a number of initiatives such
as the adoption of the above mentioned Rules by its MB, there was a need to establish an EMA policy
on access to EMA documents in order to build-up a more robust system, capable of handling in a more
efficient and consistent way increasing demands for access to a wide variety of EMA documents, hence
facilitating the day-to-day operation of public access to EMA documents. Such policy was adopted by
the MB on 1 December 2010 and it addresses aspects such as the scope, the principles to be applied,
the operational prerequisites and the implementation approach.

This revision takes into account the experience gained since the introduction of the policy. It also
extends the scope of the policy from pertaining to documents related to medicinal products for human
and veterinary use to also pertaining to documents non-related to medicinal products for human and
veterinary use. Furthermore, this revision incorporates the rules for the implementation of Regulation
(EC) No 1049/2001 on access to EMA documents as an Annex to this policy. These rules are now
presented as arrangements for the implementation of said Regulation.

The policy shall be reviewed within 3 years or at an earlier stage if considered necessary.


2.          Scope
EMA aims to ensure the widest possible access to the documents that it produces or receives and has
in its possession.

The EMA policy on access to EMA documents, which applies in the context of the EMA’s activities, has a
two-fold approach. One relates to the way EMA deals with all written requests (including requests
made electronically) for access to any document originated, received or held by EMA (i.e. reactive
disclosure). The second one concerns proactive disclosure of EMA documents, either through the EMA
website or other sources of publication.

It should be noted that requests for information fall outside the scope of this policy as they are
addressed and will be handled in accordance with the EMA Code of Good Administrative Behaviour.

It should also be noted that EMA reserves to classify documents for internal purposes such as for
internal security reasons or to manage access to its databases according to separate procedures and
criteria.


3. Definitions
•      “Document” shall mean any content whatever its medium (written on paper or stored in electronic
       form or as a sound, visual or audio-visual recording) concerning a matter relating to the policies,
       activities and decisions falling within the EMA sphere of responsibility.

•      “Third party” shall mean any natural or legal person, or any entity outside EMA, including the
       Member States, other EU or non-EU institutions and bodies and third countries.




4
    EMA Code of Good administrative Behaviour (Doc. Ref.: EMA/264257/2013).


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4.       Policy statement
The following aspects are addressed in this policy:

•    Principles of the policy.

•    Output of the policy.

•    Prerequisites for operating the policy.

•    Implementing the policy.

4.1. Principles of the policy

4.1.1. General principles

In compliance with principles set in the Treaty, as further defined by provisions of Regulation (EC) No
1049/2001, applicable to EMA pursuant to Article 73 of Regulation (EC) No 726/2004 and its
implementing rules, EMA will ensure the widest possible access to EMA documents concerning any
matter related to the policies, activities and decisions falling within the EMA remit and responsibilities.

The following general principles apply:

•    Whilst providing adequate protection of commercial confidential information, personal data and
     other conflicting interests as identified (see below section on specific interests for further
     information), access to a requested document will be denied only if one of the exceptions listed in
     Article 4 of Regulation (EC) No 1049/2001 will be considered applicable.

•    When only parts of a document contain information that cannot be disclosed, access to the
     remaining parts of the document shall be granted.

•    Likewise, documents or parts thereof may be redacted before disclosure in order to protect
     information contained therein that cannot be disclosed (i.e. the need to protect commercial
     confidential information or personal data).

•    Irrespective of any applicable exception, access to documents or parts thereof may be granted
     whenever an overriding public interest in disclosure can be identified by EMA, either further to a
     request for access to documents, or on its own initiative.

•    In dealing with requests for access to documents, EMA will also apply the principle of
     proportionality in order to avoid that performance of core tasks assigned to EMA is jeopardised (i.e.
     to “provide the Member States and the Institutions of the Community with the best possible
     scientific advice on any question relating to the evaluation of the quality, safety and efficacy of
     medicinal products for human or veterinary use which is referred to it”, as laid down in Regulation
     (EC) No 726/2004). Accordingly, EMA will liaise with the requester 5 in order to seek an agreement
     on a fair and reasonable solution (e.g. a priority list of documents) whenever the request
     addresses a long list of documents or the document(s) the requester is interested in require
     extensive redaction before being disclosed. In case of a third party consultation, the third party
     may liaise with the Agency on a case-by-case basis in order to seek an agreement on a reasonable
     and timely feasible consultation of the requested documents (e.g. batch release).




5
  In the context of this policy the notion of requester shall mean any natural or legal person filing an application for access to
documents pursuant to the principles set in Regulation (EC) No 1049/2001.


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•      The Agency will not process requests that are abusive, repetitive and/or excessive in number. This
       includes requests from individuals whose behaviour is abusive or from individuals using threatening
       or vulgar language.

•      Citizens of the EU and natural or legal persons residing or having their registered office in an EU
       Member State have the right of access to EMA documents under Article 2(1) of Regulation (EC) No
       1049/2001 . This right to access concerns documents held by EMA (that is to say, documents
       produced or received by EMA and in its possession). EMA is no longer in a position to process
       access to documents requests issued from outside the EU. This is due to a high volume of requests
       resulting in an excessive workload and in order to avoid EMA's core business tasks and
       performance being jeopardised by the administrative workload related to activities under
       Regulation (EC) No 1049/2001 regarding public access to documents.

4.1.2. Specific principles

Specific interests

In applying the exceptions listed in Article 4 of Regulation (EC) No 1049/2001 the following interests
may be taken into consideration:

•      The need to respect Confidentiality Arrangements entered with non-EU Regulatory Authorities.

•      The need to protect international relationship with third countries and international organisations.

•      The need to protect privacy and integrity of any natural or legal person.

In the above mentioned cases partial access to the concerned documents may be granted if this does
not undermine the interests at stake.

Protection of privacy and the integrity of the individual will be ensured in accordance with EU
legislation concerning protection of personal data, namely Regulation (EC) No 45/2001.

Balance between public and private interests

The decision whether to release a document or parts thereof may depend on the outcome of the
balance between public and private interests.

For instance, in case of a document containing information of commercial interest EMA has to strike
the balance between the right of the requester to gain access to documents and the interest of
industry to have commercial confidential information duly protected.

EMA will ensure protection of commercial interest in accordance with the notion of commercial
confidential information. In view of the lack of a legal definition and for the purpose of this policy
‘commercial confidential information’ shall mean any information which is not in the public domain or
publicly available and where disclosure may undermine the economic interest or competitive position of
the owner of the information.

Protection of internal deliberations

With regard to the specific principle not to undermine the decision-making process, EMA shall only
release documents once the concerned procedure has been finalised.

In practice this means for preparatory documents (i.e. working documents, internal notes, and
documents containing opinions for internal use 6 or related to preliminary consultations within EMA)
6
    “Internal” also refers to documents prepared at the level of the EMA scientific committees and other EMA (scientific) fora.


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related to medicinal products that these will be considered as non-releasable prior to the availability of
the Commission Decision granting, refusing or varying the marketing authorisation for the particular
medicinal product, or prior to the receipt of the withdrawal letter submitted by the pharmaceutical
company. In case there is no subsequent Commission Decision, the preparatory documents will be
considered non-releasable until the time of the scientific committee Opinion (irrespective if there is no
subsequent Commission Decision or if the procedure is subject to the annual decision of the European
Commission). In case of an assessment made by those EMA scientific committees 7, where the
assessment is part of an ongoing marketing authorisation application or variation, this assessment is
considered non-releasable until the availability of the Commission Decision on the granting or refusal
on, or the variation to the marketing authorisation, or the receipt of the withdrawal letter submitted by
the pharmaceutical company.

EMA shall consider, on a case-by-case basis, the need to grant public access prior to the finalisation of
the concerned procedure in case of an overriding public interest in disclosure, either further to a
request for access to documents, or on its own initiative.

Third party consultation

As regards third party documents, EMA shall, as required by Article 4(4) of Regulation (EC) No
1049/2001, consult the third party with a view to assessing whether any of the exceptions set out in
Articles 4(1) and 4(2) of the Regulation is applicable, unless it is clear that the document shall not be
disclosed or shall be disclosed with no redactions (e.g. a document that has already been made
public).

If the requested document(s) originated from an EU Institution or a National Competent Authority
(NCA), EMA shall consult the concerned authority prior to taking any decision on disclosure.

EMA scientific committees, working parties and other EMA (scientific) fora are not to be considered as
third parties. This principle shall not apply to documents originated, held or received by fora such as
the CMD(h) 8 / CMD(v) 9, inspectors groups, which relate to non-centrally authorised products. They are
considered to be originated, received or held by the NCAs and therefore the chairman and the
concerned NCAs shall be consulted by EMA, prior to disclosure.

In all cases the final decision on disclosure will be the sole responsibility of EMA.

Transparency on the requests and beneficiaries of the requests for access to documents

Transparency on the implementation of the policy will be ensured through provision of information on
EMA’s handling of requests for access to documents in the EMA Annual Report and Annual Activity
Report. The number of requests received as well as the number of requests where access to the
document(s) requested was granted or refused will be provided. As per Article 17 of Regulation (EC)
No 1049/2001 information on the reason(s) for refusal will be provided in an aggregated way in
accordance with the provisions of Article 4 of the same Regulation.

The beneficiaries of the requested documents will at the time of making the request for access to
documents be asked to state their affiliation and this information will be made public as part of the
transparency on the procedure by publishing the number of requests by type of requester.




7
  This refers to the CAT (Committee on Advanced Therapies), the PDCO (Paediatric Committee) and the PRAC (Pharmacovigilance
Risk Assessment Committee).
8
  CMD(h) = Co-ordination group for Mutual recognition and Decentralised procedures – human.
9
  CMD (v) = Co-ordination group for Mutual recognition and Decentralised procedures – veterinary.


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4.2. Output of the policy

Applying the aforementioned general and specific principles has resulted in two documents, i.e. the
“Output of the European Medicines Agency policy on access to documents related to medicinal products
for human and veterinary Use” (Doc. Ref.: EMA/127362/2006, Rev. 1) and the “Output of the
European Medicines Agency policy on access to documents non-related to medicinal products for
human and veterinary use” (Doc. Ref.: EMA/183710/2016) (hereafter referred to as “output tables”).

These output tables list the various documents prepared or submitted in the context of the EMA’s
activities in the areas of medicinal products for human and veterinary use, as well as various corporate
documents. They provide information on aspects such as:

•    The classification of the documents (“releasable” or “non-releasable”).

•    If access is granted or not.

•    The reference to the applicable legislative provision in Regulation (EC) No 1049/2001.

•    The need to redact EMA documents prior to disclosure, etc.

Both output tables have to be considered “living” documents and will be updated on a continuous basis
taking into account further experience gained, e.g. by including additional documents, by taking into
account the legal interpretation of Regulation (EC) No 1049/2001 given by the European Court of
Justice.

4.3. Prerequisites for operating the policy

The prerequisites to operate the policy on access to documents are:

•    The establishment of a formal procedure to classify EMA documents for the purposes of Regulation
     (EC) No 1049/2001.

•    The establishment of a formal procedure for ensuring adherence to the protection of commercial
     confidential information and personal data.

Establishment of a formal procedure to classify EMA documents for the purposes of
Regulation (EC) No 1049/2001 regarding public access to documents

For the purpose of implementing Regulation (EC) No 1049/2001 the aforementioned general and
specific principles are applied in order to classify documents into either “releasable” or “non-
releasable”.

This requires a formal procedure for the assignment of the classification of EMA documents, capable to
address two situations:

•    The classification of all currently available EMA documents.

•    The subsequent classification of any new type of EMA document.

Third party documents will be classified as non-releasable by default and specific principles as outlined
above will apply further to requests for access.

A dedicated internal entity, the Document Access and Publication Service, has been set up to operate
the process for requests for access to documents held by EMA.




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Establishment of a formal procedure for ensuring adherence to the protection of
commercially confidential information and personal data

As already stated before, EMA will, prior to public access to EMA documents, ensure compliance in
particular with the protection of commercially confidential information, personal data and other
conflicting interests as identified. Criteria that will be applied to achieve this objective are either
enshrined in EU legislation (i.e. on the protection of personal data) or detailed in this policy (i.e. the
definition of commercial confidential information to be applied for the deletion of such information).

A formal procedure for ensuring adherence to these principles is in place. This procedure foresees
redacting the documents prior to their disclosure. This should allow achieving a harmonised approach
across EMA. A quality assurance system is built into this redaction process.

4.4. Implementing the policy

The concept of public access to documents held by EMA is a two-fold approach:

•    One relates to the adequate follow-up to written requests for access to any document in full
     respect of EU legislation, as outlined in this policy/0043. The key features (i.e. classification of EMA
     documents, handling of initial and confirmatory applications) will be adhered to.

•    The other is the proactive disclosure of EMA documents on the EMA website as part of the EMA’s
     continuous commitment to transparency. This includes information on the medicinal products and
     regulatory procedures for which EMA is responsible as well as agendas and minutes of the scientific
     committees’ meetings. Information on EMA such as its reports, funding and financial management
     and other corporate documents are also proactively published on the EMA website.

     The information proactively published has been increased with the introduction of proactive
     publication of clinical data for medicinal products for human use (EMA Policy/0070) and with the
     coming into force of other relevant legislative provisions.

     EMA may establish other rules regarding the publication of documents in order to ensure an
     appropriate level of transparency, in accordance with Article 80 of Regulation (EC) No 726/2004.

EMA is not a legislative body and holds only documents relating to administrative procedures. The
requirement imposed by Recital 6 and Article 12 of Regulation (EC) No 1049/2001 to give wider access
to documents relating to a legislative procedure and to make such documents directly accessible to the
greatest possible extent would, therefore, not apply to the documents held by EMA.

For the above reasons, EMA considers that the various electronic document databases and systems
currently made publicly available by EMA effectively enable the citizens to exercise the rights given to
them by Regulation (EC) No 1049/2001, as required by Article 73 of Regulation (EC) No 726/2004 and
Articles 2(4) and 11 of Regulation (EC) No 1049/2001.

It should be emphasised that the aforementioned approach does not undermine EU citizens’ rights to
the widest possible access to documents held by EMA. It should rather be seen as the most cost-
effective way (in particular from a workload and human resources perspective) to implement the
concept of public access to EMA documents. The ultimate objective of this two-fold approach is to
increase the transparency of the decision making process.

The implementation of the policy will be monitored to ensure efficiency and effectiveness, that lessons
learnt will be taken into account and remedial action can be taken when necessary in future revisions
of the policy.




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5.       Related documents
•    Regulation (EC) No 1049/2001 of the European Parliament and of the Council of 30 May 2001
     regarding public access to European Parliament, Council and Commission documents
     http://www.europarl.europa.eu/RegData/PDF/r1049_en.pdf


6.       Changes since last revision
The following changes have been made:

•    The scope of the policy has been extended to include documents non-related to medicinal products
     for human and veterinary use. A second output table has been created dealing with access to such
     documents.

•    The classification of the documents has been changed into “releasable” or “non-releasable”.

•    The section on protection of internal deliberations has been amended to clarify when procedures
     are considered to be concluded and a section on transparency has been added to clarify the level of
     transparency on the requests, and on the beneficiaries of the requests.

•    The rules for the implementation of Regulation (EC) No 1049/2001 have been changed into
     arrangements for the implementation of said Regulation and these arrangements have been added
     as an annex to this policy, although relevant information (i.e. on the scope, on the definitions) has
     been included in the body of the policy.

•    The implementation of the policy has been reworded to emphasise the documents that are
     proactively published. An explanation as to how the Agency meets its legal obligations as required
     by Article 73 of Regulation (EC) No 726/2004 and Articles 2(4) and 11 of Regulation (EC) No
     1049/2001 has been added.

•    Following the public consultation on the revised policy, changes have been introduced to refer to
     Article 16 of Regulation (EC) No 1049/2001, to clarify consultation of third parties, to change the
     terminology used to refer to the person making the access to document request from ‘applicant’ to
     ‘requester’, and to clarify when a document is a preparatory document.

•    A statement has been included in relation to the fact that EMA now applies Article 2(1) of
     Regulation (EC) No 1049/2001 regarding the right of access of citizens of the EU and natural or
     legal persons residing or having their registered office in an EU Member State to EMA documents.
     EMA is, therefore, no longer in a position to process access to document requests issued from
     outside the EU. This is due to a high volume of requests resulting in an excessive workload and in
     order to avoid EMA's core business tasks and performance being jeopardised by the administrative
     workload related to activities under Regulation (EC) No 1049/2001 regarding public access to
     documents.



London, 4 October 2018

[Signature on file]



Guido Rasi
Executive Director




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                                                                                               ANNEX


           Arrangements for implementing Regulation (EC)
             No 1049/2001 on access to EMA documents

Article 73 of Regulation (EC) No 726/2004 foresees that Regulation (EC) No 1049/2001 of the
European Parliament and of the Council of 30 May 2001 regarding public access to European
Parliament, Council and Commission documents will apply to the Agency and that it is necessary to
establish rules implementing Regulation (EC) No 1049/2001.

These arrangements elaborate on a number of aspects, such as the possible exceptions for providing
access to EMA documents, the process for handling requests for access to EMA documents, the
arrangements for consulting with third parties.


1. Exceptions
Access to certain documents shall be refused by virtue of application of one of the following
exceptions:

1. EMA shall refuse access to a document where disclosure would undermine the protection of:

    a) the public interest as regards public security, defence and military matters, international
         relations, the financial, monetary or economic policy of the Community or a Member State;

    b) privacy and the integrity of the individual, in particular in accordance with Community
         legislation regarding the protection of personal data.

2. EMA shall refuse access to a document where it determines that disclosure would be likely to
    undermine the protection of:

    a) commercial interests of a natural or legal person, including intellectual property,

    b) court proceedings and legal advice,

    c)   the purpose of inspections, investigations and audits,

    unless there is an overriding public interest in disclosure.

3. Access to a document, produced or received and in possession of EMA, which relates to a matter
    where the decision has not been taken, shall be refused if EMA determines that disclosure of the
    document would seriously undermine the decision-making process, unless there is an overriding
    public interest in disclosure.

    Access to a preparatory document containing opinions for internal use as part of deliberations and
    preliminary consultations within EMA shall be refused even after the decision has been taken if EMA
    determines that disclosure of the preparatory document would seriously undermine the Agency’s
    decision-making process, unless there is an overriding public interest in disclosure.

4. As regards third party documents, EMA shall consult the third party with a view to assessing
    whether an exception in paragraph 1 or 2 is applicable, unless it has already been determined that
    the document shall or shall not be disclosed.




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5. A Member State may request EMA not to disclose a document originating from that Member State
    without its prior agreement.

6. If only parts of the requested document are covered by any exceptions, the remaining parts of the
    document shall be released.


2. Requests for access
1. Applications for access to EMA documents, which are not publicly available, shall be made in
    writing including electronic form, and in a sufficiently precise manner to enable EMA to identify the
    document(s).

2. If an application is not sufficiently precise, EMA shall ask the requester to clarify his request and
    shall assist the requester in doing so. The deadline for reply shall start once EMA has sufficient
    information to process the request.

3. In the event of an application relating to a very long document or to a very large number of
    documents, EMA may confer with the requester informally, with a view to finding a fair solution.


3. Handling of initial applications
1. An application for access to a document shall be handled promptly. An acknowledgement of receipt
    shall be sent to the requester. Within 15 working days from receipt of the application, EMA shall
    either grant access to the document requested and provide access in accordance with Article 6 of
    this annex within that period or, in a written reply, state the reasons for the total or partial refusal
    and inform the requester of his or her right to ask EMA to reconsider its position in accordance with
    paragraph 2 of this Article.

2. In the event of a total or partial refusal, the requester may, within 15 working days of receiving
    EMA’s reply, ask EMA to reconsider its position by submitting a confirmatory application.

3. In exceptional cases, for example in the event of an application relating to a very long document or
    to a very large number of documents, the time-limit provided for in paragraph 1 may be extended
    by 15 working days, provided that the requester is notified in advance and that detailed reasons
    are given.

4. Failure by EMA to reply within the prescribed time limit shall entitle the requester to a confirmatory
    application.


4. Handling of confirmatory applications
1. The EMA Executive Director shall take the decisions relating to requests to EMA to reconsider its
    position. Such requests shall be handled promptly. Within 15 working days from receipt of such a
    request, EMA shall either grant access to the document concerned and provide access in
    accordance with Article 6 of this annex within that period or, in a written reply, state the reasons
    for the total or partial refusal. In the event of a total or partial refusal, EMA shall inform the
    requester of the remedies open to him or her, namely to lodge a complaint to the European
    Ombudsman or institute Court proceedings against EMA, under Article 195 or 230 of the EC Treaty,
    respectively.

2. In exceptional cases, for example in the event of an application relating to a very long document or
    to a very large number of documents, the time limit provided for in paragraph 1 may be extended



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    by 15 working days, provided that the requester is notified in advance and that detailed reasons
    are given.

3. Failure by EMA to reply within the prescribed time limit shall be considered as a negative reply and
    entitles the requester to lodge a complaint to the European Ombudsman or institute Court
    proceedings against the Agency, under Article 195 or 230 of the EC Treaty, respectively.


5. Consultations
1. Where EMA receives an application for access to a document, which it holds, but which originates
    from a third party, EMA shall check whether one of the exceptions provided for by Section 1 of this
    annex applies.

2. If, after that examination, EMA considers that access to it must be refused under one of the
    exceptions provided for in Section 1 of this annex, the negative answer shall be sent to the
    requester without consultation of the third party author.

3. EMA may grant the application without consulting the third party author where the document
    requested has already been disclosed either by its author or under Regulation (EC) No 1049/2001
    or similar provisions.

4. Unless the document originates from a Member State, EMA may grant the application without
    consulting the third party author where it is obvious that the disclosure, or partial disclosure, of its
    contents would not affect one of the interests referred to in Section 1 of this annex.

5. In all other cases, and in particular if an application for access concerns a document originating
    from a Member State, the third party author shall be consulted.

6. The third-party author consulted shall have a deadline for reply, which shall be no shorter than five
    working days but must enable EMA to abide by its own deadlines for the reply. In the absence of
    an answer within the prescribed period, or if the third party is untraceable or not identifiable, EMA
    shall decide in accordance with the rules on exceptions in Section 1 of this annex, taking into
    account the legitimate interests of the third party on the basis of the information at its disposal.

7. If EMA intends to give access to a document against the explicit opinion of the author, it shall
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